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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                             Case No. 8:13-cr-229-T-30MAP

   RICHARD HARRISON SOLER
   LINDA RODRIGUEZ
   ROBERT WILLIAMSON



        FINAL JUDGMENT OF FORFEITURE AS TO CERTAIN REAL PROPERTY

           THIS CAUSE comes before the Court upon the United States= Motion for a

   Final Judgment of Forfeiture (Doc. 127), pursuant to 21 U.S.C. § 853 and Rule

   32.2(c)(2) of the Federal Rules of Criminal Procedure, for the following asset:

                 The real property located at 7748 Brettonwood Drive, Tampa,
                 Florida, including all improvements thereon and appurtenances
                 thereto, the legal description for which is as follows:

                 LOT 23, BLOCK 1, CYPRESS TREE, AS PER PLAT THEREOF,
                 RECORDED IN PLAT BOOK 48, PAGE 19, OF THE PUBLIC
                 RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.

                 Parcel ID: U-23-28-17-07V-000001-00023.0.

           On August 16, 2013, the Court entered Preliminary Orders of Forfeiture

   against defendants Linda Rodriguez and Robert Williams for the asset described

   above, pursuant to 21 U.S.C. § 853. Docs. 59 and 60.



           On October 3, 2013, the Court entered a Preliminary Order of Forfeiture

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   against defendant Richard Soler for the asset described above, pursuant to 21

   U.S.C. § 853. Doc. 79.

          The Court finds that in accordance with 21 U.S.C. ' 853(n) and Rule

   32.2(b)(6)(C), the United States published notice of the forfeiture and of its intent to

   dispose of the asset on the official government website, www.forfeiture.gov, from

   December 10, 2013 through January 8, 2014. Doc. 123. The publication gave

   notice to all third parties with a legal interest in the asset to file with the Office of the

   Clerk, United States District Court, Middle District of Florida, Sam Gibbons Federal

   Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602, a

   petition to adjudicate their interest within 60 days of the first date of publication.

          The Court further finds that, in accordance with the requirements of 21

   U.S.C. § 853(n), the United States sent notices of this forfeiture action, via certified

   United States mail and first class mail to the Hillsborough County Tax Collector,

   James Valenti and Spencer Lumia, the only entity and individuals believed to have

   any potential interest in the real property. The Tax Collector and James Valenti

   and Spencer Lumia filed Verified Petitions, which have been settled. No other

   entity or individual is believed to have any potential interest in the asset.

          No other third party or entity has filed a petition or claimed an interest in the

   asset, and the time for filing such petition has expired.

          Accordingly, it is hereby:

          ORDERED, ADJUDGED, and DECREED that for good cause shown, the


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